Case 8:19-cr-00348-PX Document 45-1 Filed 08/17/20 Page 1of1

 

GE ~ CED CCU - Maryland State Police (MSP)

 

Freenet Target Summary

 

IP Addres

 

&:

Pash
me

 

Geo Location. |i

  

ar,

a Cashaey

 

 

 

Location |

C10 885446656496 ii

 

 

 

File of interest #1

 

Possible File Name: _

Syo SUCK anal. mkv

 

SHA‘ Hash:

HOSTZVAQANSVKGICUZR EV OLPDLYWPDH

 

Possible Manifest Key:

CHK @o0z72eZ5cC3ZoW SlarélvGJEnLD973T~uCLQspiCa4
WW ,~3vT Biud_LOZ2GF qBq 1xaxdZdSP~2x1K8aCcizayJresA
AMC~8/5yo_ suck anal mky

vue sont

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

L:nimum Blocks Required: Total Blocks: 4142 ~File Size(KB) | 65,984
:  \ Pilered: 30 Rows LE #2145
First Block Observed: 2018/06/24 13:35:18 2018/06/24 19:35:18} 2018/06/24 43:35:18
Last Block Observed: 2018/06/24 13:51:26 2018/06/24 13:51:26] 2018/06/24 13:51:26
Overall Runtime: 0:16:08 0:16:08 0:16:08
Average Peers  68t 69 1 68.1
Total Unique Requests Logged: 29 em ove-com tp ni eh on pte
'% of Even Share of Total Blocks: Stat Test: : : vee
% of Even Share of Min Blocks: °

 

 

 

 

6/25/2018 13:33

 

 

Freenet Target

Summary

 

[ann

iP Address:
Geo Location
Location I):

0 665148656406" 7d it

 

 

 

File of Interast #2

 

Possibie File Name

murpmy Gorn Russia whe biews her little son Nr 4

 

 

  

   

 

 

 

  

 

 

 

 

 

    

 

 

 

 

 

ISHA1 Hash UY WEMSY RAST! INBERISRWGQOWE2Z4KAXK veer
Ag, ePe~96nk~DbyunEnmasZ2rOJNtm=Wh26JABuC Saw
Possible Manifest Key: al AAMC—
Sobre 20 tussis SCheh Coltrays®
se OhT %201% 2020180525 15093
84 Total Blocks: 3712 ~File Size(KB): | 59.104
Overail Toiais: “| Filered: 155 Rows LE # 1277 LE#Z145- | LE #2164 LE #1809
2018/06/23 16:18:26 2018/06/23 16:18:26; 2018/06/23 16:18:26 2018/06/23 20:26:38 2018/08/24 07:56:48 2018/06/25 01 as ae
Last Block Observed: 2018/06/25 16:57:04 — | 2018/06/25 1:57:04) 2018/08/23 16:18:26 2018/06/25 15:57:04 2018/06/24 08:21:21 2018/06/25 0124 AL
Overall Runtime: _ 47:38:38 47:38:38 0:00:00 43:30:26 0:24:32 0:00:00
Pp _ 728 728 770
Total ‘Unique Requests Logged: 132 ew we oe ee eee
% of Even Share of Total Blocks: Stat Test: :
% of Even Share of Min_Blocks: i

 

 

  

 

 

 

6/25/2018 13:33

 

 

 

 

Freenet Target Summary
IP Address: Ft BAe.
Geo Location:

    

 

 

Location 1D-|6 685448688496444

File of Interest #3 “
Webcam {$M ityo Redhead SUPERHOTO1avi
ICELHHAOEK2UY O4DXG2DF VGULZ5SMAWP

SGpHKIFghNNe,E69Yk0z~plzB7 GStopE Uskri woA7PacDko
FotOOTSKY AAMC-8/Webcam-

Keila%201 lyo%20Redhead%20SUPER%20HOT%2001 av
1

 

 

Possible File Name:
SHA‘ Hash:

 

 

Possible Manifest Key:

 

Minimum Daia Blocks Required

      
   

 

 

 

 

 

 

 

 

 

 

1,769 ___[Total Blocks: 3.586 ~File Size(KB): 56,608
Overail Totals Filtered: 24 Rows LE #2145 LE # 2164

First Block 2018/08/24 14:27:24 | 2018/06/24 14:27:24] 2018/06/24 14:27:24 2018/06/24 14:62:49
Last Block | Observed: _ 201 8/06/24 14:55:42 2018/08/24 14:55:42) 2018/08/24 14:55:42 2018/06/24 14:54:26 :
Overall Runtime: 0:26:18 0:28:18 0:28:18 0:01:37
Average Peers 76.3 753 752 75.7
Total | Unique Requests Logged: 24 _24 voc wow nn eos mn ene ea ee a ew ee Dome sn srs wie ee sie om rs mg a rr cs sat aps se nn
% of Even Share of Total Blocks: Stat Test: A ee : T eB rs
% of Even Share of Min Blacks: Fass bo con |

 

 

 

 

     

 

 

6/25/2018 13:33

 

 

Report Run On Wednesday, November 14, 2018 By C. Mills Page: 11 of 245

 
